        Case 1:21-cr-00382-PLF         Document 99         Filed 11/03/23    Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 1:21-cr-382 (PLF)
                                             :
CHRISTOPHER WARNAGIRIS,                      :
                                             :
                      Defendant.             :

                                   JOINT STATUS REPORT

       Pursuant to the Court’s October 25, 2023 Minute Order, the parties have met and conferred,

and propose the following dates for a pretrial schedule:


          Date                   Description

                                 The government shall file any opposition to the
                                 defendant’s outstanding pretrial motions and its
          November 30, 2023
                                 response to the Court’s questions in the October
                                 24, 2023 Order, ECF No. 91.
                                 The defendant shall file any reply in support of his
                                 pretrial motions. The parties shall file any
          December 15, 2023
                                 objections to the Court’s proposed bench
                                 instructions, as described in ECF No. 91 at 3-4.

          December 20, 2023      Final pretrial conference.

          January 22, 2024 at
                                 Trial will commence.
          10:00 a.m.
       Case 1:21-cr-00382-PLF    Document 99     Filed 11/03/23   Page 2 of 2




                                      Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY
For the Defendant,                    D.C. Bar Number 481052


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